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             EXHIBIT G-14
                                    Case 21-32261 Document 40-22 Filed in TXSB on 07/26/21 Page 2 of 4
                                                                 RP-2017-117842
                                                                                                               03/21/2017               ER         $20.00




        UCC FINANCING STATEMENT AMENDMENT
        FOLLOW INSTRUCTIONS

        A. NAME & PHONE OF CONTACT AT FILER (optional)
             Vanessa A. Orta 405-236-0003
        B. E-MAIL CONTACT AT FILER {optional)


        C. SEND ACKNOWLEDGMENT TO:                    (Name and Address)


             !McCoy & Orta, P.C.                                                                           7
               100 North Broadway, 26th Floor
               Oklahoma City, OK 73102
             L                                                                                             _J
                                                                                                                                 THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
        1a. INITIAL FINANCING STATEMENT FILE NUMBER                                                               11 b.12] This FINANCING STATEMENT AMENDMENT is to be filed            [for record]
                                                                                                                           (or recorded) in the REAL ESTATE RECORDS
        RP-2016-481296 filed 10/25/16                                                                                      Filer: mtlll;b Amendment Addendum (Fenn UCC3Ad) am! provide Debtor's name in Item 13
        2.   0    TERMINATION: Effectiveness of the Financing Statement identified above is terminated with respect to the security interest(s) of Secured Party authorizing this Termination
                  Statement

        3. 12] ASSIGNMENT@,r partial): Provide name of Assignee in item 7a or 7b, l!!ll1 address of Assignee in item 7c                   l!!ll1 name of Assignor in   item 9
               For partial assignment, complete items 7 and 9 l!!ll! also indicate affected collateral in item 8

        4.   0    CONTINUATION: Effectiveness of the Financing Statement identified above with respect to the security interest(s) of Secured Party authorizing this Continuation Statement is
                  continued for the additional period provided by applicable law

        5.   □ PARTY INFORMATION CHANGE:
             Check l2lJl! of these two boxes:                                  AMD, Check l2lll! of these three boxes to:
                                                                                    □ CHANGE name and/or address: Complete          DADD name: Complete item                    DELETE name: Give record name
             This Change affects                    Secured Party of record            item Sa or Sb; and item 7a or 7b and item 7c   ?a or 7b, and item 7c                     to be deleted in item Sa or Sb
        6. CURRENT RECORD INFORMATION: Complete for Party Information Change - provide only l2lll! name (Sa or Sb)
N
v
CX)
            Sa. ORGANIZATION'S NAME


r,...   OR Sb. INDIVIDUAL'S SURNAME                                                               FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)              SUFFIX
~

~
    I
r,...   7 CHANGED OR ADDED INFORMATION· Complete for Assignment or Party Information Change- provide only im, name (7a or 7b) (use exact full name do not omtt modify or abbreviate any part of the Debtor's name)
~
           ?a. ORGANIZATION'S NAME

0                WILMINGTON TRUST, NATIONAL ASSOCIATION, AS TRUSTEE*
N       OR
               7b. INDIVIDUAL'S SURNAME
    I
a..
0::::              INDIVIDUAL'S FIRST PERSONAL NAME


                   INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                                       SUFFIX


        7c. MAILING ADDRESS                                                                                                                             ISTATE     IPOSTALCDDE                      COUNTRY
                                                                                                 ICITY
        1100 North Market Street                                                                   Wilmington                                            DE          19890                          USA
        8.   □    COLLATERAL CHANGE: 8122 check l2lll! of these four boxes:             □ ADD     collateral       □   DELETE collateral         0    RESTATE covered collateral           □    ASSIGN collateral
                  Indicate collateral:

        * FOR THE BENEFIT OF THE REGISTERED HOLDERS OF WELLS FARGO COMMERCIAL MORTGAGE TRUST
        2016-LC25, COMMERCIAL MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2016-LC25




        9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only l2lll! name (9a or 9b) (name of Assignor, if this is an Assignment)
           If this is an Amendment authorized by a DEBTOR, check here and provide name of authorizing Debtor
                 9a. ORGANIZATION'S NAME

                 RIAL TO MORTGAGE FINANCE, LLC
        OR 9b. INDIVIDUAL'S SURNAME                                                               FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)              SUFFIX



        10. OPTIONAL FILER REFERENCE DATA:
        Holiday Inn Webster Reference No.: 4435.017 FILE WITH HARRIS COUNTY, TX

                                                           UCC FINANCING STATEMENT AMENDMENT (Form UCC3) (Rev.                                     04/20/11)
                             Case 21-32261 Document 40-22 Filed in TXSB on 07/26/21 Page 3 of 4




        UCC FINANCING STATEMENT AMENDMENT ADDENDUM
        FOLLOW INSTRUCTIONS

        11. INITIAL FINANCING STATEMENT FILE NUMBER: Same as item 1a on Amendment form
        RP-2016-481296 filed 10/25/16
        12. NAME OF PARTY AUTHORIZING THIS AMENDMENT: Same as item 9 on Amendment form
             12a. ORGANIZATION'S NAME
             RIAL TO MORTGAGE FINANCE, LLC


        OR
             12b. INDIVIDUAL'S SURNAME


                  FIRST PERSONAL NAME


                  ADDITIONAL NAME(S)/INITIAL(S)                                                            I SUFFIX
                                                                                                                                    THE ABOVE SPACE IS FOR FILING OFFICE USE ONLV
        13. Name of DEBTOR on related financing statement (Name of a current Debtor of record required for indexing purposes only in some filing offices - see Instruction item 13): Provide only
            ~ Debtor name (13a or 13b) (use exact, full name; do not omit, modify. or abbreviate any part of the Debtor's name); see Instructions if name does not fit

             13a. ORGANIZATION'S NAME
              KORNBLUTH TEXAS, LLC
        OR 13b. INDIVIDUAL'S SURNAME                                                         FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)/INITIAL(S)   SUFFIX



        14. ADDITIONAL SPACE FOR ITEM 8 (Collateral):




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        15. This FINANCING STATEMENT AMENDMENT:                                                                  17. Description of real estate:
             D covers timber to be cut       covers as-extracted collateral   0   is filed as a fixture filing   Property Address: 302 West Bay Area Boulevard,
        16. Name and address of a RECORD OWNER of real estate described in item 17
            (if Debtor does not have a record interest):                                                         Webster, TX




        18. MISCELLANEOUS;



                                            UCC FINANCING STATEMENT AMENDMENT ADDENDUM (Form UCC3Ad) (Rev. 04/20/11)
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                  RP-2017-117842
                  # Pages 3
                  03/21/2017 09:20 AM
                  e-Filed   &   e-Recorded in the
                  Official Public Records of
                  HARRIS COUNTY
                  STAN STANART
                  COUNTY CLERK
                  Fees   $20.00




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0....            RECORDERS MEMORANDUM
0::::            This instrument was received and recorded electronically
                 and any blackouts, additions or changes were present
                 at the time the instrument was filed and recorded.




                 Any provision herein which restricts the sale, rental, or
                 use of the described real property because of color or
                 race is invalid and unenforceable under federal law.
                 THE STATE OF TEXAS
                 COUNTY OF HARRIS
                 I hereby certify that this instrument was FILED in
                 File Number Sequence on the date and at the time stamped
                 hereon by me; and was duly RECORDED in the Official
                 Public Records of Real Property of Harris County, Texas.



                                      COUNTY CLERK
                                      HARRIS COUNTY, TEXAS
